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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

  AUSTIN VAN OVERDAM,                               §
                                                    §
                       Plaintiff,                   §
                                                    §           CASE NO. 4:18–CV–02011
  v.                                                §
                                                    §
  TEXAS A&M UNIVERSITY,                             §
                                                    §
                       Defendant,                   §


                                    FIRST AMENDED COMPLAINT


TO THE HONORABLE JUDGE OF SAID COURT:

         COMES NOW, Plaintiff, Austin Van Overdam (hereinafter “Plaintiff” or “Van Overdam”)

and files this Original Complaint, complaining of Texas A&M University, and in support thereof

would respectfully show the Court as follows:

                                           I.     PARTIES

         1.     Plaintiff Austin Van Overdam is an individual who is a resident of Brazos County,

Texas.

         2.     Defendant Texas A&M University is a general academic teaching institution

pursuant to Section 61.003 of the Texas Education Code. Defendant has already made an

appearance in this matter.

                                     II.        JURISDICTION

         3.     Jurisdiction in this Court is proper pursuant to 28 U.S.C. § 1331 because this matter

involves a federal question, specifically claims and causes of action that arise under 20 U.S.C.§

1681, et seq.




 
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                               III.    FACTUAL SUMMARY

       4.      Beginning in September 2015, Austin Van Overdam was a student at Texas A&M

University and a swimmer on the Texas A&M University Swim Team. In September 2015, Van

Overdam connected with a female user on Tinder. Tinder is a social media application that allows

users to connect with one another if they find each other attractive. With its emphasis on

attractiveness, Tinder has fueled the “hookup culture,” allowing users to meet almost immediately

for a sexual encounter.

       5.      Van Overdam’s Tinder connection in September 2015 was with Hannah Shaw, a

fellow student at Texas A&M University. After only a few private messages through the Tinder

app, Shaw took an Uber over to Van Overdam’s on-campus apartment with the plan being to

engage in sexual activity.

       6.      Upon arriving, Van Overdam and Shaw engaged in vaginal intercourse followed

immediately by anal intercourse. After the anal intercourse, Shaw next immediately performed

oral sex on Van Overdam until he reached ejaculation. At no time did Shaw protest or voice any

concerns regarding any actions in which Van Overdam and/or Shaw engaged. Especially revealing

was Shaw’s voluntary third sexual act of performing oral sex to the point of ejaculation on Van

Overdam. Shaw inexplicably was found by the Texas A&M University administrative hearing

panel to have consented to the oral sex she performed on Van Overdam immediately following

allegedly unwanted anal intercourse

       7.      Following the intercourse and oral sex, Shaw asked that Van Overdam let her stay

to cuddle but Van Overdam declined. Shaw was visibly upset that Van Overdam did not want to

let her stay. As Shaw went to leave Van Overdam’s apartment, she asked for a “goodbye kiss,”

and Van Overdam again declined. Once again, Shaw was visibly upset; however, she did then

leave Van Overdam’s apartment. This was the only meeting, encounter, or interaction that Van


 
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Overdam and Shaw ever had.

       8.      To summarize, the sexual acts between Shaw and Van Overdam occurred in the

following chronological sequence: Act 1 – vaginal intercourse; Act 2 – anal intercourse; Act 3 –

oral sex to the point of ejaculation. And in an Act 4, Shaw sought to cuddle, spend the night, and

obtain a goodnight kiss, all from Van Overdam.

       9.      Eight months later, Van Overdam was informed by Texas A&M University that he

was under investigation for two charges of sexual abuse (for anal intercourse without consent and

oral sex without consent), one charge of sexual contact (for ejaculating in Shaw’s mouth without

consent), and a charge of dating violence (for grabbing Shaw’s wrists during anal intercourse).

The Texas A&M University Student Conduct Office conducted an initial investigation and charged

Van Overdam with the four charges.

       10.     At the conduct hearing conducted by the Texas A&M University Student Conduct

Office, testimony was heard from both Van Overdam and Shaw. Texas A&M employees at the

disciplinary hearing unilaterally excluded evidence of Shaw’s current mental health and her past

mental history. This unilateral exclusion over Van Overdam’s objection of relevant evidence that

would have impacted the Texas A&M administrative hearing panel’s evaluation of Shaw’s

credibility was an egregious denial of Van Overdam’s due process rights. Left with only the

contradictory “swearing match” testimony of Van Overdam (who claimed there was consent at

each stage for Acts 1, 2, and 3—all sexual encounters) and Shaw (who testified that she had only

not consented to the anal intercourse but had consented to vaginal intercourse and oral sex), the

exclusion of relevant evidence to explain context, motive, and evaluative processes hampered the

Texas A&M administrative hearing panel’s ability to properly evaluate credibility. Despite the

fact that no reasonable factfinder could conclude that a victim of nonconsensual anal intercourse

could immediately, after this alleged assault occurred (anal intercourse), then voluntarily perform

 
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a subsequent sexual act of oral sex to the point of ejaculation on the alleged assailant, the Texas

A&M administrative hearing panel found Van Overdam responsible for one charge of sexual abuse

(for anal intercourse without consent) but not responsible for any of the other charges. Van

Overdam appealed the finding of responsibility, but it was upheld on the appeal.

              11.            None of Texas A&M University’s administrative employees have ever explained

the obvious discrepancy in the findings reached by the hearing panel for the conclusion that Van

Overdam was not responsible for misconduct in a sexual act (oral sex to the point of ejaculation,

Act 3) that immediately followed a sexual act (anal intercourse, Act 2) in which there was a finding

of responsibility. A reasonable factfinder could have decided Shaw was more credible and

concluded that Van Overdam was responsible for both acts, which would have been consistent

with Shaw’s claim that she only participated in oral sex because she was afraid.1 Or a reasonable

factfinder could have concluded that Van Overdam was not responsible for misconduct in any of

the sexual acts. The panel instead reached contradictory findings, which are explained by gender

bias.2

              12.            The Texas A&M University administrative hearing panel reached these

contradictory conclusions in the context of continuous pressure from both the public, and the

federal government, to find males similarly situated to Van Overdam responsible for alleged acts

of sexual violence.3 For example, in 2015, the Washington Post reported, at Texas A&M

University, “Fifteen percent of undergraduate women [who responded to a survey] said they were

victims of non-consensual sexual contact through force or in situations when they were

                                                            
1
  Naomi Martin, Sexual assault survivors say Texas A&M chose its brand over justice, DALLASNEWS (June 29,
2018), https://www.dallasnews.com/news/texas/2018/06/29/sexual-assault-survivors-say-texas-am-chose-brand-
justice (“To appease him, she performed oral sex on him, she said, because ‘I could tell that was what he wanted
from his body language . . . .’”).
2
  This gender bias has always been prevalent in Texas A&M’s administrative hearings, evidenced by conduct of the
members, including asking an accused male student if “he is even worthy of wearing an Aggie ring.” Affidavit of
Cameron Reynolds, ¶ 4, attached hereto as Exhibit 1.
3
  Dear Colleague Letter dated April 4, 2011, issued by the Office of the Assistant Secretary, Department of Education,
https://www2.ed.gov/about/offices/list/ocr/letters/colleague-201104.html (last visited Nov. 12, 2018)
 
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incapacitated and unable to consent.”4 “Seven percent of undergraduate women said they suffered

incidents involving non-consensual sexual penetration or attempted penetration.”5 And “[f]ive

percent of students said sexual assault is very or extremely problematic at the school.”6 And in

2015, the U.S. Department of Education Office for Civil Rights investigated Texas A&M

University for similar violations that administrators went too far in suspending a male student, but

university officials publicly balked at the investigation, stating that “I don’t think this has been the

government’s finest hour.”7

              13.            The constant scrutiny from the public and the federal government helps explain the

university’s motivation to create a system that commonly results in finding Texas A&M

University’s male students responsible for sexual misconduct complaints.                         Texas A&M

University’s resistance to past federal investigations into their practices involving other instances

of bias against male students demonstrably shows that the problem still persists at Texas A&M

University, and that the pressure from the federal government also explains why a hearing panel

would produce contradictory findings in their attempt to arrive at a finding of responsibility for

the male student, but with a feigned appearance of objectivity.

              14.            More than two years later, Texas A&M University continues to ignore the

contradictory testimony of Van Overdam and Shaw, and continues to support the narrative that

finds the woman’s allegations, here Shaw, more credible. Publicly, Texas A&M University is still

supporting Shaw as a purported “victim,” buckling under public pressure and trying to hide behind

its own discriminatory policies and procedures.



                                                            
4
  Nick Anderson & Susan Svrluga, What a massive sexual assault survey found at 27 top U.S. universities, WASH.
POST (Sept. 21, 2015), https://www.washingtonpost.com/news/grade-point/wp/2015/09/21/what-a-massive-sexual-
assault-survey-showed-about-27-top-u-s-universities/?noredirect=on&utm_term=.f6b19720984c.
5
  Id.
6
  Id.
7
  Matthew Watkins, Sexual Assault Investigation Forces A&M to Walk a Fine Line, TEX. TRIBUNE (Nov. 15, 2015,
6:00 AM), https://www.texastribune.org/2015/11/18/federal-sexual-violence-investigation-m-shows-deli/.
 
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                                                               IV.   CAUSES OF ACTION

1)            Title IX, 20 U.S.C. § 1681, et seq. – Erroneous Outcome and Disparate Treatment
              Based on Sex

              15.            Plaintiff repeats and re-alleges paragraphs 4–14 as if fully set forth herein.

              16.            Title IX prohibits discrimination in educational institutions on the basis of sex if

any part of such an educational institution receives federal funds of any kind. Texas A&M

University receives federal funding in the form of, inter alia, student loans and other monetary

grants given to students and faculty members.

              17.            Both the United States Department of Education and the United States Department

of Justice have promulgated regulations under Title IX that require an educational institution to

put in place grievance procedures providing for the adjudication of sexual misconduct claims by

students. See 28 C.F.R. § 54.135(b); 34 C.F.R. § 106.8(b). These procedures must afford due

process to the parties involved and, at a minimum, provide “adequate, reliable, and impartial

investigation of complaints.” See generally U.S. Dep’t of Ed., Office for Civil Rights, Revised

Sexual Harassment Guidance: Harassment of Students by School Employees, Other Students, or

Third Parties – Title IX (2001) (emphasis added).

              18.            In the manner in which it approaches the investigation, adjudication, and appeal of

allegations of sexual misconduct, Texas A&M University creates an environment in which male

students accused of sexual misconduct are assured of a finding of responsibility. Texas A&M

University regularly applies different standards to male accused students in the investigation and

enforcement of sexual misconduct allegations, and the process usually, and systematically, results

in findings of responsibility for male students, regardless of the evidence.8 This denies the accused,

here Van Overdam, of his fundamental due process rights and deprives these male students

                                                            
8
  See Exhibit 1; Affidavit of Hutton Ask, attached hereto as Exhibit 2. Furthermore, discovery will likely provide
additional support for this claim, as Texas A&M University is in possession of statistical information and more specific
information about past investigations and disciplinary results.
 
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(similarly situated to Van Overdam) of educational opportunities solely on the basis of their

gender.

              19.            During the time period relevant to this investigation and the disciplinary sanctions

against Van Overdam, Texas A&M University was under pressure from both the public and the

federal government.9 Texas A&M University has a general interest in protecting its reputation,

and the university has a financial interest in producing findings of responsibility for the federal

government. As a result of these pressures and incentives, Texas A&M University administers

investigations into sexual misconduct in a manner that disfavors male accused students.

              20.            When males are found responsible for sexual misconduct, like Van Overdam, they

receive discipline such as suspension or expulsion.                    But female students have been found

responsible for sexual misconduct and allowed to remain in school.10 Accordingly, the difference

in treatment between female students who are found responsible for some acts of sexual

misconduct, and the treatment of Van Overdam, shows that the outcome reached by the Texas

A&M University administrative hearing panel resulted from gender bias.

              21.            More specifically with regard to the matter at bar, Van Overdam is a male student

at Texas A&M University accused of sexual misconduct.                           He was the subject of these

aforementioned discriminatory practices as a result of the Texas A&M University sexual

misconduct disciplinary process. As described more fully infra, Van Overdam was stigmatized as

a result of his gender while Shaw was viewed as a “victim” even before any adjudication of the

sexual misconduct allegations against Van Overdam took place.                          Texas A&M University

employees told Shaw not to get an attorney because they would handle her case, which indicates

that Texas A&M University supported Shaw from the beginning because she was a female student

                                                            
9
 See supra notes 3–7 and accompanying text.
10
   Rusty Surette, Former student files Title IX lawsuit against Texas A&M, KBTX (Aug. 15, 2017, 5:21 PM),
https://www.kbtx.com/content/news/Former-student-files-Title-IX-lawsuit-against-AM-following-sexual-
misconduct-case-440614983.html (last updated Aug. 15, 2017, 10:52 PM).
 
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making sexual misconduct allegations. In addition, by telling Shaw she did not need to get an

attorney, Texas A&M University implied to Shaw that she would receive a favorable outcome in

the investigation and hearing before the process even began. Moreover, during the hearing, Texas

A&M University excluded Van Overdam’s offer of exculpatory evidence of Shaw’s mental health.

By preventing Van Overdam from presenting exculpatory evidence like this, Texas A&M

University employees ensured that the male accused student would face a “he said, she said”

swearing match with nothing more than the protestations of one another. Limiting the evidence in

the manner that it did, the Texas A&M University administrative hearing panel completely

discounted Van Overdam’s testimony and deemed Shaw’s contradictory testimony more reliable

all without reason or explanation. Even considering Shaw’s voluntary decision to complete Act 3

(oral sex on Van Overdam to the point of ejaculation), and how it was juxtaposed against Act 2

(anal intercourse), which she purported was nonconsensual, the Texas A&M University

administrative hearing panel inexplicably found Van Overdam responsible.                         This disparate

treatment between Van Overdam and Shaw was based solely on Van Overdam’s gender in

violation of Title IX, and resulted in an erroneous outcome in the Texas A&M University

disciplinary hearing.

              22.            Texas A&M University cannot explain its disparate treatment between male and

female students in the disciplinary process by claiming that it simply favors all victims. Texas

A&M University publicly states that it strives for fairness in its process for accused students.11

Therefore, any explanation that depends on favoritism of victims would be a pretextual attempt to

cover the true gender bias at the heart of its treatment of Van Overdam and other male students.

              23.            As a direct and proximate result of Texas A&M University’s unlawful gender

                                                            
11
   TEXAS A&M TODAY, Texas A&M Releases Reports On Title IX Policy And Procedures, (Aug. 20, 2018),
https://today.tamu.edu/2018/08/20/texas-am-releases-reports-on-title-ix-policy-and-procedures/    (Texas    A&M
Provost and Executive Vice President Carol A. Fierke said, “I feel confident that these changes will make our Title
IX processes more sensitive, transparent and fair for our students.”).
 
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discrimination against Van Overdam, he has suffered harm and he will continue to suffer harm,

injury, and damages. Such harm, injury, and damages include, but are not limited to, the denial of

educational opportunities, loss of scholarship funds, inability to transfer to other educational

institutions, reputational damages including his standing in his community, loss of career

opportunities and future earning capacity, humiliation and embarrassment, and mental and

emotional distress.

              24.            Accordingly, Texas A&M University is liable to Van Overdam for discrimination

against him solely on the basis of his gender in direct contravention of Title IX. Texas A&M

University is therefore liable to Van Overdam for all damages allowed to him thereunder, including

compensatory damages, punitive damages, and attorney’s fees.

2)            Title IX, 20 U.S.C. § 1681, et seq. – Selective Enforcement

              25.            Plaintiff repeats and re-alleges paragraphs 4–14 as if fully set forth herein.

              26.            In the manner in which it approaches the investigation, adjudication, and appeal of

allegations of sexual misconduct in Van Overdam’s case, Texas A&M University selectively

pursued the investigation and enforced sanctions against Van Overdam based on gender. For

instance, another Texas A&M University administrative hearing panel found a female student

responsible for some of the allegations in a complaint against her, but that female student received

no sanctions.12 But because Van Overdam is male, Texas A&M University vigorously adjudicated

the allegations against him and suspended him from school, despite the administrative hearing

panel’s own contradictory findings regarding his conduct. Because Texas A&M University treats

males and females differently when investigating and enforcing sanctions for allegations and

findings of responsibility for sexual misconduct, Texas A&M is liable for selective enforcement

under Title IX.


                                                            
12
     See Rusty Surette, supra note 10.
 
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              27.            Additionally, Van Overdam is a male student at Texas A&M University accused of

sexual misconduct. He was subject to these aforementioned discriminatory practices by Texas

A&M University as a result of the application of the Texas A&M University sexual misconduct

disciplinary process to him. As described more fully infra, Van Overdam was stigmatized as a

result of being accused of sexual misconduct while Shaw was viewed as a “victim” even before

any adjudication of the sexual misconduct allegations against Van Overdam took place.

Furthermore, Van Overdam’s testimony as the accused was discounted while Shaw’s testimony as

accuser was deemed more reliable without reason or explanation. Even considering Shaw’s

voluntary decision to complete Act 3 (oral sex to the point of ejaculation) with Van Overdam and

how it was juxtaposed against Act 2 (anal intercourse), which she purported was nonconsensual,

the Texas A&M University administrative hearing panel inexplicably found Van Overdam

responsible. This selective enforcement is not limited to Van Overdam’s case. Texas A&M

regularly applies different standards to male accused students in the investigation and enforcement

of sexual misconduct allegations.13 In addition to selective enforcement of university standards

varying between male and female accused students, the difference in treatment between Van

Overdam and Shaw also constitutes selective enforcement.

              28.            Texas A&M University has not provided a legally sufficient rationale for creating

and applying different standards for accused males in a sexual misconduct matter. Furthermore,

there is no legitimate basis for these different standards. This disparate standard denied Van

Overdam his fundamental due process rights and deprived him of educational opportunities solely

on the basis of his gender.

              29.            As a direct and proximate result of Texas A&M University’s unlawful sex

discrimination against Van Overdam, he has and will continue to suffer harm, injury, and damages.


                                                            
13
     See Exhibit 1; Exhibit 2.
 
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Such harm, injury, and damages include, but are not limited to, denial of educational opportunities,

loss of scholarship funds, inability to transfer to other educational institutions, reputational

damages including to his standing in his community, loss of career opportunities and future earning

capacity, humiliation and embarrassment, and mental and emotional distress.

       30.     Accordingly, Texas A&M University is liable to Van Overdam for discrimination

against him solely on the basis of his sex in direct contravention of Title IX. Texas A&M

University is therefore liable to Van Overdam for all damages allowed to him thereunder, including

compensatory damages, punitive damages, and attorney’s fees.

3)     U.S. Constitution Amendments V and XIV; Texas Constitution Article I, Section 19
       – Due Process Violation

       31.     Plaintiff repeats and re-alleges paragraphs 4–14 as if fully set forth herein.

       32.     Texas A&M University violated Van Overdam’s right to be free from the

deprivation of liberty and property interests without due process of law under the United States

Constitution and the Texas Constitution when Texas A&M University employees unilaterally

excluded evidence of Shaw’s current and past mental health history and prevented Van Overdam

from undertaking any meaningful cross-examination by an attorney.

       33.     The exclusion of relevant evidence that would have impacted the Texas A&M

University administrative hearing panel’s evaluation of Shaw’s credibility was an egregious denial

of Van Overdam’s due process rights. Left with only the contradictory statements of the only two

actual witnesses to Acts 1, 2, 3, and 4, the exclusion of relevant evidence to explain context,

motive, and evaluative processes hampered the hearing panel’s ability to properly evaluate

credibility through a fair process. Additionally, the exclusion of evidence was not cured, but

instead was repeated, during the appeal.

       34.     By denying this due process and limiting Van Overdam’s ability to defend himself,

Texas A&M University subjected Van Overdam’s reputation to severe stigmatization that will
 
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harm Van Overdam’s future educational and employment opportunities. Indeed, Van Overdam’s

accuser, Shaw, has since published a widely-shared statement on Twitter: “Me: I’m unhappy the

boy who r*ped me is back on the swim team” in juxtaposition to a tone-deaf response she received

from Texas A&M University employees about Van Overdam after he completed his suspension.14

After being widely shared on Twitter, Shaw’s statement has recirculated in prominent

publications.15 Therefore, as a result of the denial of due process, Van Overdam has, and will

continue to, suffer severe reputational harm from the stigma arising from Texas A&M University’s

disciplinary hearing, which will hamper his ability to fully participate in educational and

employment activities.

              35.            By denying due process and limiting Van Overdam’s ability to defend himself,

Texas A&M University deprived Van Overdam of his liberty interests in pursuing knowledge, in

pursuing his education, and in maintaining his status as a student in good standing during the time

of his suspension.

              36.            By denying due process and limiting Van Overdam’s ability to defend himself,

Texas A&M University deprived Van Overdam of his property interests in maintaining his status

as a student in good standing and in continuing to take courses at Texas A&M University during

the time of his suspension.

              37.            Defendants are a publicly funded institution of higher education of the State of

Texas and were acting under color of state law when they deprived Van Overdam of his due

process rights, in violation of the Fifth and Fourteenth Amendments to the U.S. Constitution and

Article I, Section 19, of the Texas Constitution.


                                                            
14
   Dan Solomon & Jessica Luther, Meet the Women Whose Persistence Made Texas A&M Change Its Sexual Assault
Policies, TEX. MONTHLY (Nov. 6, 2018), https://www.texasmonthly.com/news/meet-women-whose-persistence-
made-texas-change-sexual-assault-
policies/?fbclid=IwAR0qvdHtQisphRswvpk95_YE1kJrEqlSNGW7tQopuUagfQor9UAvQxEm8xI.
15
   E.g., id.
 
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                                     V.         JURY DEMAND

        38.    Van Overdam demands a trial by jury on all triable issues.

                                          VI.        PRAYER

        WHEREFORE, PREMISES CONSIDERED, Plaintiff Austin Van Overdam asks that the

Court issue citation for Defendant to appear and answer, and that Plaintiff be awarded a judgment

against Defendant compensatory damages, punitive damages, attorneys’ fees, and such further

relief, both general and special, at law or in equity, to which Plaintiff may show himself to be justly

entitled.

                                                 Respectfully submitted,

                                                 WEST, WEBB, ALLBRITTON & GENTRY, P.C.
                                                 1515 Emerald Plaza
                                                 College Station, Texas 77845-1515
                                                 Telephone: (979) 694-7000
                                                 Facsimile: (979) 694-8000

                                                 By:__/s/ Gaines West_______________________
                                                   GAINES WEST
                                                   State Bar No. 21197500 / SDTX No. 5327
                                                   Email: gaines.west@westwebblaw.com
                                                   JOHN “JAY” RUDINGER, JR.
                                                   State Bar No. 24067852 / SDTX No. 1421393
                                                   Email: jay.rudinger@westwebblaw.com

                                                 ATTORNEYS FOR PLAINTIFF



                                 CERTIFICATE OF SERVICE

         I hereby certify that I filed the foregoing document in accordance with the protocols for
efiling through the CM/ECF system in the United States District Court for the Southern District of
Texas, Houston Division on November 12, 2018, and therefore has been served upon all counsel
of record in accordance with such e-filing protocols.


                                                 By: __/s/ Gaines West_______________________
                                                           GAINES WEST



 
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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

  AUSTIN VAN OVERDAM,                              §
                                                   §
                      Plaintiff,                   §
                                                   §           CASE NO. 4:18-CV-02011
  v.                                               §
                                                   §
  TEXAS A&M UNIVERSITY,                            §
                                                   §
                      Defendant,                   §


                                   AFFIDAVIT OF HUTTON ASK


STATE OF TEXAS                §
                              §
COUNTY OF BRAZOS              §

       BEFORE ME, the undersigned authority, on this day personally appeared, who is
personally known to me and who, after first being duly sworn according to law on his oath, deposed
and said:

         1.    My name is Hutton Ask. I am over 18 years of age, of sound mind, and have never
               been convicted of a felony. I am competent to testify to the matters stated herein.
               I am personally acquainted with the facts stated herein and affirm the following is
               true and correct.

         2.    I am a licensed attorney in Texas and have been practicing since 2013. Since 2016,
               part of my practice involves representing students accused of violations from the
               Texas A&M University Student Conduct Office. I have represented 6 male
               students in these matters, including 3 cases involving allegations of sexual assault.

         3.    In all the cases I have handled, the process utilized by Texas A&M University
               resulted in the male student being found responsible for the conduct of which he
               was accused.

         4.    In many of the cases, university employees have excluded evidence presented by
               male students while generally allowing female students more latitude in
               presentation of evidence.




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